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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS




Jose Maria DeCastro
             Plaintiff
                                                        CIVIL ACTION
              V.
                                                        NO. 1:22-cv-11421-ADB


Joshua Abrams et al
            Defendants




                                ORDER OF DISMISSAL


Burroughs, D. J.


    In accordance with the Court's Memoranda and Orders dated July 11, 2023, it is hereby
ORDERED that the above-entitled action be and hereby is DISMISSED.


                                                    By the Court,


7/11/2023                                                      /s/ Caetlin McManus
       Date                                                           Deputy Clerk
